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UNITED sTATES DISTRICT COURT
FOR THE MIDDLE DISTRICT 0F FLORIDA ~
ORLANDO DIVISION '“"`

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FEDERAL TRADE COMMISSION,

Plaintiff, Case No. wl l$§’»c.\.r ¢ ‘S’G'J ' C»Q.L. "3 '7 DCI
v.
MoBE Ltd., also afb/a MOBE, also afb/a My (Fi‘€d Feb 3“‘» 2019)
Online Business Education, also d/b/a My Own

Business Empire, a Malaysian limited liability
company,

MOBEProcessing.com, Inc., a Delaware
corporation,

Transaction Managernent USA, Inc., a Delaware
corporation,

MOBETraining.com, lnc.1 a Delaware corporation,

9336-0311 Quebec Inc., also d/b/a Business
Education Training, a Canada corporation,

MOBE Pro Limited, an United Kingdom limited
liability company,

MOBE lnc., a Panama corporation, MOBE Online
Ltd., a Mauritius limited liability company,

Matt Lloyd Publishing.com Pty Ltd., also d/b/a

Matt Lloyd Publishing, also dfb/a I-lome Business
Builders, an Australia limited liability company,

Matthew Lloyd McPhee, afk/a Matt Lloyd,
individually and as an ocher, member and/or
manager of MOBE Ltd., MOBEProcessing.com, lnc_,
MOBETraining.com, lnc., 9336-0311 Quebec lnc.,
MOBE Pro Limited, MOBE lnc., MOBE Online Ltd.,
Matt Lloyd Publishing.com Pty Ltd., and Transaction
Management USA, lnc.,

Susan Zanghi, individually and as an officer,
member and/or manager of MOBE Ltd. and
MOBE Processing.com, Inc., and

Russell W. Whitney, Jr., individually and as an
officer, member andjor manager of MOBE Ltd.,

 

Defendants

 

DEFENDANT Ma'[th€W Lloyd MCPhee’s ANSWER AND DEFENCES TO
PLAINTIFFS’ COMPLAINT FOR PERMANENT INJUNTION AND OTHER RELIEF

 

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Defendant Matthew Lloyd McPhee (“Matt Lloyd”), by and through undersigned counsel,
hereby files this, his Answer to PlaintiH`s’ Complaint for Permanent Injunction and other Relief
(“Complaint”) as follows:

1. Matt Lloyd admits the allegations contained in paragraphs 1, 2, 8, 9, 10, 11, 12, 13,
14, 15, 16, 17, 18, 19, 20, 21, 24, 25, 39, 50, 53, 56, 58, 59, 66, 73, 74, 75, 78, 81, 83,
92, 97 of the Complaint.

2. Paragraphs 22, 23 & 77 are directed explicitly at defendants other than Matt Lloyd
and therefore make allegations to which Matt Lloyd requires no response.

3. Matt Lloyd denies the allegations contained in paragraphs 3, 4, 5, 6, 28, 32, 33, 36,
37, 41, 43, 45, 47, 61, 62, 63, 68, 69, 72, 76, 79, 82, 85, 87, 88, 89, 90, 91, 98 of the
Complaint.

4. Matt Lloyd is without sufficient knowledge or information to adequately respond to,
and therefore denies, the allegations contained in paragraphs 29, 30, 31, 34, 55, 57,
80, 84, 86, 93, 94, 96 of the Complaint.

5. Concerning paragraph 7 of the Complaint, Matt Lloyd admits to the total amount
paid. The remainder of paragraph 7 is denied mainly for the characterisation and
language of context.

6. Concerning paragraph 26 of the Complaint, Matt Lloyd admits that a business
opportunity was promoted however the remainder of paragraph 26 is denied.

7. Wit.h respect to paragraph 27 of the Complaint, Matt Lloyd denies the statement
"Defendants claim to have a "simple 2l-step" money- making system that Will show
consumers how to quickly and easily make substantial income", because it was
explained clearly in 21 step system as well as in disclaimer that it requires work and
effort It was also demonstrated that student success depends on their efforts. The
remainder of paragraph 27 is accepted.

8. Concerning paragraph 35 of the Complaint, Matt Lloyd admits that the 21 step system
videos are pre-recorded. The remainder of paragraph 35 is denied due to the
mischaracterisation of sales agents as they were coaches who teach useful material to
students.

9. Concerning paragraph 38 of the Complaint, Matt Lloyd admits that during the 21 step
system program, MOBE offered further educational programs The remainder of
paragraph 38 is denied due to the mischaracterisation of MOBE products as

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memberships MOBE did not oEer its programs as memberships, and these programs
were educational

10. Conceming paragraph 40 of the Complaint, Matt Lloyd denies that MOBE programs
were progressively tiered in a way that buyers have to pay for the program in full first
before they join another coaching program. All of these programs were different
programs. Also, there are many other ways to enter these programs rather than paying
for them.

11. Conceming paragraph 42 of the Complaint, Matt Lloyd denies the language and
characterization of products. The remainder of paragraph 42 regarding MOBE
compensation plan is accepted.

12. Matt Lloyd denies due to the characterisation of product. The remainder of paragraph
44 regarding MOBE compensation plan is accepted.

13. Conceming paragraph 46 of the Complaint, Matt Lloyd denies due to the
characterisation of consumers as they were only consumers to learn skills and not
affiliates

14. Conceming paragraph 48 of the Complaint, Matt Lloyd denies due to the
characterisation of what was said. More information is required.

15. Conceming paragraph 49 of the Complaint, Matt Lloyd denies to the statement that
21 step system was the primary method as there were events that affiliates could
promote as an affiliate Matt Lloyd also denies due to the characterisation of MOBE
educational programs as memberships.

16. Conceming paragraph 51 of the Complaint, Matt Lloyd denies due to the
characterisation of 21 step system videos as marketing videos. These videos are
educational with tons of value given.

17. Conceming paragraph 52 of the Complaint, Matt Lloyd denies the characterisation of
business coaches as sales agents.

18. Conceming paragraph 54 of the Complaint, Matt Lloyd denies due to the language
and context of the paragraph

19. Conceming paragraph 60 of the Complaint, Matt Lloyd denies due to the statement
that was said: "no work or effort is required to make a sale." It was statements at
numerous places along with income disclaimers and agreements that it requires effort
and work. Matt Lloyd accepts the remainder of the paragraph about this business
model being lucrative.

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20. Conceming paragraph 64 of the Complaint, Matt Lloyd denies that the given website
was for all MOBE members Given site was only for MOBE affiliates and not for
everyone as many of MOBE members were just consumers of the product.

21, Conceming paragraph 65 of the Complaint, Matt Lloyd denies that the given website
was for all MOBE members. Given site was only for MOBE affiliates and not for
everyone as many of MOBE members were just consumers of the product.

22. Conceming paragraph 67 of the Complaint, Matt Lloyd denies to the language and
also to the mischaracterisation of what was said. MOBE never guaranteed that people
with a mental disability could make money with this program. The only thing
mentioned was that they would learn how given person in the video did that. This
person's name is Paul Holdsworth, and he lives in the UK. This video explains his
real story in his words that he wanted to share with people.

23. Conceming paragraph 70 of the Complaint, Matt Lloyd denies that to the
characterisation of MOBE products as membership programs The remainder of the
paragraph regarding MOBE properties web destinations is accepted.

24.Concerning paragraph 71 of the Complaint, Matt Lloyd denies to the
mischaracterisation of MOBE programs

25. Conceming paragraph 95 of the Complaint, Matt Lloyd denies to most of the
paragraph except the fact that agreements were post-purchase and it was because of
the limitation of software used by the company. However, remnd policy was clearly
explained to the customer before the purchase by their coach.

26. Matt Lloyd is without sufficient knowledge or information to adequately respond to

and therefore denies, the allegations contained in paragraphs 99 -108 of the
Complaint.

AFFIRMATIVE DEFENSES

Respectfully submitted, this 3rd day of February 2019.

Matthew Lloyd Mc ee
workwithmattlloyd@gmail.com

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